                                                                   ORIGINAL
                                                                         FILED IN OPEN COURT
                                                                            U.S.D.C. • Atlanta

                 IN THE UNITED ST ATES DISTRICT COURT
                                                                          FEB - 8 2072
                FOR THE NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION                             K~~'tj ,J/~ER, Clerk
                                                                          "N7Jpiuty Clerk
UNITED ST A TES OF AMERICA

      V.
                                             Criminal Indictment

                                             No.
OMAR LEWIS                                              g
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                                                            2=CR 042
THE GRAND JURY CHARGES THAT:

                                    Count One
   Beginning on a date unknown, but at least as of on or about January 4, 2021,
and continuing until on or about January 13, 2021, in the Northern District of
Georgia and elsewhere, the defendant, OMAR LEWIS, did knowingly and
willfully combine, conspire, confederate, agree and have a tacit understanding
with others known and unknown to the Grand Jury, to violate Title 21, United
States Code, Section 841(a)(l), that is to knowingly and intentionally possess
with intent to distribute a controlled substance, said conspiracy involving at least
500 grams of a mixture and substance containing a detectable amount of
methamphetamine, a Schedule II controlled substance, pursuant to Title 21,
United States Code, Section 841(b)(l)(A), all in violation of Title 21, United States
Code, Section 846.


                                    Count Two
   On or about January 4, 2021, in the Northern District of Georgia, the
defendant, OMAR LEWIS, aided and abetted by others known and unknown to
the Grand Jury, did knowingly and intentionally possess with intent to distribute
a controlled substance, said act involving at least 500 grams of a mixture and
substance containing a detectable amount of methamphetamine, a Schedule II
controlled substance, pursuant to Title 21, United States Code, Section
841(b)(l)(A), all in violation of Title 21, United States Code, Section 841(a)(l) and
Title 18, United States Code, Section 2.


                               For£ eiture Proyision

   Upon conviction of one or more of the offenses alleged in Counts One and
Two of this Indictment, the defendant, OMAR LEWIS, shall forfeit to the United
States of America, pursuant to Title 21, United States Code, Section 853, any

property constituting, or derived from, proceeds obtained, directly or indirectly,
as a result of said violations and any property used, or intended to be used, in
any manner or part, to commit, or to facilitate the commission of said violations,
including but not limited to, the following:

      (a)    MONEY JUDGMENT: A sum of money in United States currency
             representing the amount of proceeds obtained as a result of each

             offense, or conspiracy to commit such offense, alleged in Counts
             One and Two of this Indictment.
   If any property described above, as a result of any act or omission of the
defendant:

      (a)    cannot be located upon the exercise of due diligence;

      (b)    has been transferred or sold to, or deposited with, a third party;

      (c)    has been placed beyond the jurisdiction of the court;
      (d)    has been substantially diminished in value; or



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      (e)    has been commingled with other property which cannot be divided

             without difficulty;

the United States intends, pursuant to Title 21, United States Code, Section

853(p ), to seek forfeiture of any other property of the defendant up to the value
of the above forfeitable property.




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                                                    FOREPERSON
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